                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         2021-NCCOA-654

                                          No. COA21-285

                                      Filed 7 December 2021

     Rockingham County, No. 20 JA 108

     IN THE MATTER OF R.B.



           Appeal by Respondent from order entered 1 February 2021 by Judge Erica S.

     Brandon in Rockingham County District Court. Heard in the Court of Appeals 6

     October 2021.


           Lisa Anne Wagner for Respondent-Appellant-Mother.

           Stam Law Firm, PLLC, by R. Daniel Gibson, for Guardian ad Litem.

           No brief filed on behalf of Rockingham County Department of Social Services,
           Petitioner-Appellee.


           WOOD, Judge.


¶1         Respondent-Mother appeals an order adjudicating her minor child, Riley,1

     neglected and dependent and continuing non-secure custody with Rockingham

     County Department of Social Services (“DSS”). On appeal, Respondent-Mother

     contends the trial court erred in adjudicating Riley neglected and dependent and




           1 A pseudonym is used to protect the identity of the juvenile(s). See N.C. R. App. P.

     42.
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     abused its discretion in continuing non-secure custody with DSS. After careful review

     of the record and applicable law, we reverse the adjudication order.

                         I.   Factual and Procedural Background

¶2          Respondent-Mother has one child, Riley, born on August 15, 2017.

     Respondent-Mother has a history of depression and anxiety. In December 2019,

     Respondent-Mother was having difficulty getting Riley to sleep independently and

     called several friends and a parenting hotline for support. Respondent-Mother felt

     overwhelmed and exhausted and believed it would be best for another adult to be in

     the home until she rested. Ultimately, Respondent-Mother called 9-1-1 due to her

     exhaustion.2 Law enforcement arrived to Respondent-Mother’s residence, and “didn’t

     see a problem in the home.”

¶3          Thereafter, one of Respondent-Mother’s friends picked Riley up and kept him

     for a few days. During this time, Respondent-Mother voluntarily underwent a mental

     health evaluation and began therapy.           Another friend of Respondent-Mother’s

     traveled from Baltimore to stay with Respondent-Mother “in the event that it was

     determined” Respondent-Mother needed supervision.              Shortly thereafter, Riley

     returned to Respondent-Mother’s care.




            2 Respondent-Mother testified she called 9-1-1 “out of an abundance of caution,” and

     that law enforcement officers “were confused as to why [she] called them.” Respondent-
     Mother further testified that law enforcement officers did not see a problem in the home.
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¶4         Also in December 2019, Respondent-Mother befriended Ms. D. Ms. D and her

     four-year-old daughter resided with Respondent-Mother for approximately one

     month during the Covid-19 pandemic. After Ms. D moved out of Respondent-Mother’s

     residence, Respondent-Mother had additional difficulty getting Riley to sleep

     independently. Respondent-Mother attempted to arrange respite care for Riley but

     these arrangements fell through for various reasons.

¶5         On June 7, 2020, Respondent-Mother was suffering from exhaustion and

     depression.3 Respondent-Mother texted Ms. D, “I have two black eyes4 from him

     kicking me in the head. He has been screaming and banging on the door all night

     and I have not slept in 22 hours and I swear to God I think I’m going to kill him.”

     Respondent-Mother further texted that she “want[ed] to strangle the [expletive

     omitted] lights out of him”; she“[expletive omitted] hate[d] his guts [she] hated the

     [expletive omitted] guts and [she] hope[d] he [expletive omitted] chokes a [expletive

     omitted] hate every never lets me sleep”; she “hate[d] being a mom it’s the worst”;

     and Riley “could fend for himseld [sic] and [she] wil sray [sic] in [her] room.”

     Respondent-Mother expressed her frustration to Ms. D and her feeling that no one

     understood the difficulty she was experiencing.          Specifically, Respondent-Mother




           3 Respondent-Mother testified she was “deeply-depressed and sleep-deprived.”
           4 Respondent-Mother did not have two black eyes on June 7, 2020.
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     sent a text message to Ms. D stating, “Everyone keeps just telling me that it’s normal

     and I’m [sic] keep telling everybody that I literally had my hands around his throat

     because I can’t [expletive omitted] take it anymore but nobody wants to hear it.”5

¶6          Ms. D testified that she “didn’t take [Respondent-Mother’s messages]

     literally,”6 and did not believe Respondent-Mother would harm Riley or herself at the

     time she received the text messages. Respondent-Mother testified these messages

     were “hyperbole and blowing off steam.” After Respondent-Mother sent Ms. D these

     messages, Riley went to stay with Ms. D for approximately one week. Respondent-

     Mother periodically messaged Ms. D throughout the week to inquire about Riley’s

     well-being and picked Riley up on June 14, 2020. Ms. D later testified that she had

     some reservations about returning Riley to Respondent-Mother’s care, “not because

     [Ms. D] didn’t think that she could do it. [Ms. D] just didn’t think she could do it at

     that time” due to her mental state. Nonetheless, she ultimately returned Riley to the

     care of Respondent-Mother, because “she’s the mother. And ultimately, [Ms. D is]

     just another human being. It’s not for [her] to say. [She] can only have an opinion

     and that doesn’t make [her] the person who can make the decision.”



            5 Additional text messages included hyperbolic language, including that Riley

     “ripped the door off the hinges.”
             6 When asked, “[Y]ou didn’t take [Respondent-Mother] seriously about what she

     said?”, Ms. D testified “I mean, obviously, I took it as she was frustrated.” Ms. D further
     testified, “Oh no. God, no. I didn’t take it literally,” when asked if she believed Respondent-
     Mother stated she would kill Riley.
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¶7           Shortly after Riley returned to Respondent-Mother’s care, Respondent-Mother

       and Ms. D got into an argument unrelated to Riley’s care. Around this same time,

       Ms. D was contacted by DSS, and she provided DSS with screenshots of Respondent-

       Mother’s text messages from June 7, 2020.

¶8           On June 17, 2020, social workers visited Respondent-Mother’s home.

       Respondent-Mother did not allow the social worker into her home, but allowed Ms.

       N, a community behavioral health counselor, into the residence.      Ms. N spent

       approximately thirty minutes in Respondent-Mother’s residence talking to her before

       determining Respondent-Mother did not need to be involuntarily committed.

¶9           After Ms. N exited the residence, she, the social worker, and law enforcement

       remained in Respondent-Mother’s driveway discussing the visit. Ms. N, the social

       worker, and law enforcement sat in their vehicles for approximately two and a half

       hours before the social worker took non-secure custody of Riley.        Riley was

       temporarily placed in foster care before returning to Respondent-Mother’s residence

       with Respondent-Mother under the supervision of his maternal grandmother.

¶ 10         After Riley was temporarily removed from Respondent-Mother’s care, she

       contacted her therapist and voluntarily underwent a psychological evaluation. Her

       therapist recommended she continue therapy and comply with all of DSS’s

       recommendations. In response to her therapist’s recommendations, Respondent-

       Mother continued therapy throughout the adjudication.
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¶ 11         On June 17, 2020, more than a week after Respondent-Mother sent Ms. D the

       text messages, DSS filed a juvenile petition alleging Riley was a neglected and

       dependent juvenile. The adjudication hearing occurred over three days: October 12,

       2020, November 5, 2020, and December 3, 2020. On November 5, 2020, Respondent-

       Mother moved to dismiss the juvenile petition, but the court denied her motion.

       Riley’s appointed Guardian ad litem submitted a report recommending Riley be

       returned to Respondent-Mother’s care. Specifically, the Guardian ad litem reported

                   In my short time as a GAL, I have not encountered another
                   parent like [Respondent-Mother]. She uses appropriate
                   language with her son, has displayed age-appropriate
                   discipline, and overall, appears to be a very good mother.
                   She repeats regularly that she wants what is best for her
                   son, always. I think that extenuating circumstances of
                   excessive isolation during the pandemic must be taken into
                   consideration in this case.

                          In every call I have with the family, [Respondent-
                   Mother’s] behavior with her son is exemplary. This was
                   also true during what had to be a very stressful time from
                   the audio recording I listened to that was recorded by
                   [Respondent-Mother] on the day that DSS removed [Riley]
                   from the home. [Respondent-Mother] remained a present
                   and engaged parent even as her mental health was in
                   question by the DSS staff member, [Ms. N]. [Respondent-
                   Mother] has stated time and time again that [Riley] comes
                   first. When she feels like depression might overtake her,
                   she seeks care of [Riley.] . . .

                   ...

                         [Respondent-Mother] appears to be directly dealing
                   with her known and acknowledged mental health issues
                   and HAS dealt with those issues without harm to her child
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                    and of her own volition, without outside intervention,
                    [f]rom her history and from her dogged determination to
                    clear her name in this case, she appears to have a firm
                    grasp on what being a parent means. In every single
                    interaction I have had with the family, the mother is
                    directly engaged with her son, pays attention to his
                    requests, disciplines appropriately when necessary, and
                    interacts positively with him no matter what is going on.

       Included in the record on appeal are several letters drafted by Respondent-Mother’s

       friends advocating for Riley’s return to Respondent-Mother’s care. These letters were

       drafted in June 2020 and include the following language: “The way [Respondent-

       Mother] is with [Riley] is beautiful and heartwarming. . . . She would bend over

       backwards if there was any possible threat to [Riley]”; Riley “is [Respondent-

       Mother’s] world. I know firsthand that [Respondent-Mother] is a BRILLIANT

       mother”; “I could never imagine [Respondent-Mother’s] love and ability to care for

       [Riley] would ever be argued”; and “[Respondent-Mother] is a remarkable mother:

       doting affectionate, and emotionally intuitive to her son’s needs.”

¶ 12         The trial court orally adjudicated Riley a neglected and dependent juvenile and

       proceeded to disposition on December 3, 2020. On February 1, 2021, the trial court

       entered its written adjudication and disposition order, in which it adjudicated Riley

       a neglected and dependent juvenile and found “the juvenile’s return to his/her own

       home would be contrary to the juvenile’s best interests.” The trial court continued

       non-secure custody with DSS, but placed Riley “in the home of his mother, . . . under
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       constant supervision of the maternal grandmother.” Respondent-Mother timely filed

       a written notice of appeal on February 11, 2021.

                                       II.     Discussion

¶ 13         Respondent-Mother appeals from the adjudication and disposition order.

                    In North Carolina, juvenile abuse, neglect, and dependency
                    actions are governed by Chapter 7B of the General
                    Statutes, commonly known as the Juvenile Code. Such
                    cases are typically initiated when the local department of
                    social services (DSS) receives a report indicating a child
                    may be in need of protective services. DSS conducts an
                    investigation, and if the allegations in the report are
                    substantiated, it files a petition in district court alleging
                    abuse, dependency, or neglect. The first stage in such
                    proceedings is the adjudicatory hearing. . . . If the
                    allegations in the petition are not proven, the trial court
                    will dismiss the petition with prejudice and, if the juvenile
                    is in DSS custody, returns the juvenile to the parents.

       In re A.K., 360 N.C. 449, 454-55, 628 S.E.2d 753, 756-57 (2006) (citations omitted).

       “The adjudicatory hearing shall be a judicial process designed to adjudicate the

       existence or nonexistence of any of the conditions alleged in a petition. In the

       adjudicatory hearing, the court shall protect the rights of the juvenile and the

       juvenile’s parent to assure due process of law.” N.C. Gen. Stat. § 7B-802 (2020). “The

       allegations in a petition alleging that a juvenile is abused, neglected, or dependent

       shall be proved by clear and convincing evidence.” N.C. Gen. Stat. § 7B-805 (2020).

       “Immediately following adjudication, the trial court must conduct a dispositional

       hearing.” In re A.K., 360 N.C. at 455, 628 S.E.2d at 757 (citing N.C. Gen. Stat. § 7B-
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       901 (2005)).

¶ 14         We review adjudication orders to determine “(1) whether the findings of fact

       are supported by clear and convincing evidence, and (2) whether the legal conclusions

       are supported by the findings of fact.” In re C.B., 245 N.C. App. 197, 199, 783 S.E.2d

       206, 208 (2016) (citation omitted); see also N.C. Gen. Stat. § 7B-805.

                      [W]hen a trial judge sits as both judge and juror, as he or
                      she does in a non-jury proceeding, it is that judge’s duty to
                      weigh and consider all competent evidence, and pass upon
                      the credibility of the witnesses, the weight to be given their
                      testimony and the reasonable inferences to be drawn
                      therefrom.

       In re Whisnant, 71 N.C. App. 439, 441, 322 S.E.2d 434, 435 (1984) (internal quotation

       marks omitted).      Given the deference we give to our trial courts in non-jury

       proceedings, we do not reweigh the evidence; “the trial court’s findings of fact

       supported by clear and convincing competent evidence are deemed conclusive, even

       where some evidence supports contrary findings.” In re Helms, 127 N.C. App. 505,

       511, 491 S.E.2d 672, 676 (1997) (citation omitted) (emphasis added). “Clear and

       convincing evidence ‘is greater than the preponderance of the evidence standard

       required in most civil cases.’ ” In re Smith, 146 N.C. App. 302, 304, 552 S.E.2d 184,

       186 (2001) (citation omitted). “It is defined as evidence which should fully convince.”

       Id. (citation and internal quotation marks omitted).

¶ 15         “Unchallenged findings are binding on appeal.” In re C.B., 245 N.C. App. at
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       199, 783 S.E.2d at 208 (citing In re C.B., 180 N.C. App. 221, 223, 636 S.E.2d 336, 337
       (2006), aff’d, 361 N.C. 345, 643 S.E.2d 587 (2007)). The court’s “conclusions of law

       are reviewed de novo.” In re. D.H., 177 N.C. App. 700, 703, 629 S.E.2d 920, 922 (2006)

       (citation omitted). A disposition order is reviewed to determine whether the trial court

       abused its discretion in deciding what action is in the juvenile’s best interest. In re

       C.W., 182 N.C. App. 214, 219, 641 S.E.2d 725, 729 (2007).

¶ 16         The Juvenile Code provides that adjudication orders “shall contain appropriate

       findings of fact and conclusions of law.” N.C. Gen. Stat. § 7B-807(b) (2020). Rule 52

       of our rules of civil procedure mandates that the trial court make findings of “facts

       specially and state separately its conclusions of law thereon. . . .” N.C. Gen. Stat. §

       1A-1, Rule 52. “[T]he trial court’s factual findings must be more than a recitation of

       allegations. They must be the specific ultimate facts . . . sufficient for the appellate

       court to determine that the judgment is adequately supported by competent

       evidence.” In re Anderson, 151 N.C. App. 94, 97, 564 S.E.2d 599, 602 (2002) (citing

       Montgomery v. Montgomery, 32 N.C. App. 154, 156-57, 231 S.E.2d 26, 28 (1977)).

¶ 17         It is “not per se reversible error for a trial court’s fact findings to mirror the

       wording of a petition or other pleading prepared by a party. . . . [T]his Court will

       examine whether the record of the proceedings demonstrates that the trial court,

       through processes of logical reasoning, based on the evidentiary facts before it, found

       the ultimate facts necessary to dispose of the case.” In re J.W., 241 N.C. App. 44, 48-
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       49, 772 S.E.2d 249, 253, disc. review denied, 368 N.C. 290, 776 S.E.2d 202 (2015)

       (citation omitted). “Ultimate facts are the final resulting effect reached by processes

       of logical reasoning from the evidentiary facts.” In re Anderson, 151 N.C. App. at 97,

       564 S.E.2d at 602 (citation omitted); see also In re H.J.A., 223 N.C. App. 413, 418, 735

       S.E.2d 359, 363 (2012) (citation omitted).

       A. Adjudication of Neglect

¶ 18         Respondent-Mother first argues the trial court erred in adjudicating Riley a

       neglected juvenile. We agree.

                    The purpose of the adjudication hearing is to determine the
                    existence of the juvenile’s conditions as alleged in the
                    petition. In re A.B., 179 N.C. App. 605, 609, 635 S.E.2d 11,
                    14 (2006); N.C. Gen. Stat. § 7B-802 (2015). At this stage,
                    the court’s decisions must often be ‘predictive in nature, as
                    the trial court must assess whether there is a substantial
                    risk of future abuse or neglect of a child based on the
                    historical facts of the case.’

       In re E.P.-L.M., 272 N.C. App. 585, 593, 847 S.E.2d 427, 434 (2020) (quoting In re

       McLean, 135 N.C. App. 387, 396, 521 S.E.2d 121, 127 (1999)). Section 7B-101(15) of

       our general statutes defines a “neglected juvenile” as “[a]ny juvenile . . . whose parent

       . . . does not provide proper care, supervision, or discipline . . . or who lives in an

       environment injurious to the juvenile’s welfare.” N.C. Gen. Stat. § 7B-101(15) (2020).

       To adjudicate a juvenile neglected, “some physical, mental, or emotional impairment

       of the juvenile or a substantial risk of such impairment as a consequence of the failure
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       to provide proper care, supervision, or discipline” is required. In re Safriet, 112 N.C.

       App. 747, 752, 436 S.E.2d 898, 901-02 (1993) (citation and internal quotation marks

       omitted); In re C.M., 183 N.C. App. 207, 210, 644 S.E.2d 588, 592 (2007) (citation

       omitted); In re E.P.-L.M., 272 N.C. App. at 596, 847 S.E.2d at 436 (citation omitted).

       “Similarly, in order for a court to find that the child resided in an injurious

       environment, evidence must show that the environment in which the child resided

       has resulted in harm to the child or a substantial risk of harm.” In re K.J.B., 248

       N.C. App. 352, 354, 797 S.E.2d 516, 518 (2016) (citation omitted). In adjudicating a

       child neglected, “the circumstances and conditions surrounding the child,” not “the

       fault or culpability of the parent,” are “what matters.” In re Z.K., 375 N.C. 370, 373,

       847 S.E.2d 746, 748-49 (2020) (citation omitted).

¶ 19         Here, the trial court’s order is in a “check box” format, in which the trial court

       “checked” the following findings of fact:

                    12. After receiving evidence, the Court finds: facts as
                    alleged in the Juvenile Petition which was filed by [DSS]
                    and which appears in the juvenile’s court file. Said copy of
                    the Juvenile Petition is incorporated herein by reference
                    and its allegations are found as fact by the Court. These
                    facts are also set out in the attached page or pages (entitled
                    “Additional Findings of Fact”).

                    ...

                    13. The juvenile, [Riley,] is neglected, in that the juvenile .
                    . . lives in an environment injurious to the juvenile’s
                    welfare. . . . The juvenile is at risk of future abuse, neglect
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                    or dependency.

       In the trial court’s “Additional Findings of Fact,” the court recites, verbatim, the

       allegations of the juvenile petition.    Respondent-Mother challenges the following

       facts contained therein:

                    On or about June 14, 2020, [DSS] received a neglect report
                    on the minor child based on injurious environment.
                    Specifically, the reporter was concerned over the safety of
                    the minor child based on the mother’s mental health. The
                    child was placed in the care of [Ms. D] by the mother
                    because the mother was having a mental health crisis.
                    After a couple of days, [Ms. D] attempted to return the child
                    to the mother, but the mother refused to take the child. . .
                    . The mother asked a friend for help in trying to find the
                    child an adoptive home. The mother finally picked the child
                    up from [Ms. D] on Sunday.

                    . . . The mother is refusing to cooperate with the [social
                    worker]. The mother would only speak to [the social
                    worker] through the screen door. The [social worker] could
                    see the minor child inside the home. The mother did
                    willingly let [Ms. N] into the home so that [Ms. N] could
                    assess the mother’s mental health. The mother is refusing
                    to make a plan of care for the minor child as the mother
                    states the child is safe. The mother advised the [social
                    worker] that the mother is not cooperating because the
                    [social worker] is a bully and a liar.

                    The mother has CPS history based on her mental health
                    issues. . . .

¶ 20         The trial court’s findings of fact regarding the alleged “injurious environment”

       are limited to those regarding Respondent-Mother’s mental health. The trial court

       made no factual findings regarding any prior harm Riley suffered, nor did it make
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       any findings regarding a substantial risk of harm. In re K.J.B., 248 N.C. App. at 354,

       797 S.E.2d at 518. (citation omitted). “Where there is no finding that the juvenile has

       been impaired or is at substantial risk of impairment, there is no error if all the

       evidence supports such a finding.” In re Padgett, 156 N.C. App. 644, 648, 577 S.E.2d

       337, 340 (2003) (citation omitted); see also In re K.J.B., 248 N.C. App. at 354, 797

       S.E.2d at 518 (“A trial court’s failure to make specific findings regarding a child’s

       impairment or risk of harm will not require reversal where the evidence supports

       such findings.” (citation omitted)).

¶ 21         Although the trial court made findings regarding Respondent-Mother’s mental

       health and Ms. D’s fear for Riley’s wellbeing, many of these findings are unsupported

       by competent evidence. For example, the trial court found that Respondent-Mother

       refused to make a plan of care for Riley, but the evidence showed that Respondent-

       Mother had an established Temporary Safety Plan (“TSP”) that she did not feel she

       needed to activate. The court further found Ms. D attempted to return Riley to

       Respondent-Mother’s care and Respondent-Mother refused; however, Ms. D testified

       she did not tell DSS that she attempted to return Riley to Respondent-Mother’s care

       prior to June 14, 2020.

¶ 22         Finding of fact 12 merely incorporates the allegations contained in Exhibit A

       as factual findings. Although it is “not per se error for a trial court’s fact findings to

       mirror the wording of a petition,” the trial court is mandated to find “the ultimate
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       facts necessary to dispose of the case.” In re J.W., 241 N.C. App. at 48-49, 772 S.E.2d

       at 253 (citation omitted).    As the evidence presented tended to contradict the

       allegations in the petition, we hold the trial court’s findings of fact regarding the

       alleged neglect are unsupported by competent evidence. See In re Anderson, 151 N.C.

       App. at 97, 564 S.E.2d at 602 (“[T]he trial court’s . . . findings must be more than a

       recitation of allegations.”); In re O.W., 164 N.C. App. 699, 702, 596 S.E.2d 851, 853
       (2004) (citation omitted). Further, the trial court’s fact findings also include, “See

       Exhibit B which is incorporated by reference.” “Exhibit B” is not attached to the

       order. It is clear the trial court’s findings are no “more than a recitation of the

       allegations” contained in Exhibit A, as the language is identical. The trial court failed

       to make its own ultimate findings of facts.

¶ 23         Moreover, the trial court did not make any factual findings regarding the

       injurious environment in which it believed Riley resided. The evidence tends to show

       that the only alleged “threats of harm to the child” made by Respondent-Mother were

       in the text messages she sent to Ms. D; however, both the sender and the receiver of

       the texts testified that they neither meant nor took the texts literally. Although not

       required to do so, the trial court did not address the approximately ten-day long time

       frame between Respondent-Mother’s text messages and DSS intervention.                We

       emphasize, “in order for a court to find that the child resided in an injurious

       environment, evidence must show that the environment in which the child resided
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       has resulted in harm to the child or a substantial risk of harm.” In re K.J.B., 248 N.C.

       App. at 354, 797 S.E.2d at 518 (citation omitted) (emphasis added). There is no

       evidence in the record before us that Riley suffered prior harm while in the care of

       Respondent-Mother. The trial court made no factual findings regarding substantial

       risk of future harm to Riley; rather it impermissibly adopted DSS’s allegation that

       Respondent-Mother “made threats of harm toward the child.” Where both parties

       testified at trial that the texts were not meant literally when sent nor taken literally

       when received, we decline to hold that the text messages Respondent-Mother sent to

       Ms. D standing alone, constitute clear and convincing evidence of a substantial risk

       of harm toward Riley. While we agree the trial court is in a better position to

       determine the credibility of the witnesses than the appellate court is based on the

       cold record, see In re Whisnant, 71 N.C. App. at 441, 322 S.E.2d at 435, when, as here,

       the trial court fails to make the ultimate findings of fact necessary to dispose of the

       case or support the conclusion that Riley is a neglected juvenile, we must reverse the

       adjudication order and remand to the trial court.

¶ 24         This Court reversed an adjudication of neglect and abuse where the mother

       sent a friend “Yahoo” messages about killing her children. See In re L.L., No. COA11-

       1460, 220 N.C. App. 416, 2012 WL 1514870, at *1, 4 (unpublished). Specifically, the

       mother sent messages stating, “i need a break from it all”; “im about to fukn lose it”;

       and “ima fukn kill em both.” Id. at *1. During her psychiatric evaluation, the mother
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       “told the physician she made the threatening statements because she was ‘severely

       stressed’ and thought she could ‘vent’ to her best friend.” Id.        In reversing the

       adjudication order, this Court reasoned, “[t]he evidence does show that the mental

       health professional who examined [the mother] for involuntary commitment found

       that [the mother] displayed no evidence of a desire to harm herself or her children,”

       and the messages were “written three weeks earlier while [the mother] was ‘venting’

       to a friend.” Id. at *4.

¶ 25          Likewise, in In re A.O.T., No. COA19-168, 268 N.C. App. 323, 2019 WL

       5726809, this Court vacated an adjudication of neglect where the mother “shook the

       bassinet in which the baby was contained” and feared “she was going to hurt the

       child”; the mother admitted she “scream[ed] and curs[ed] at the child”; and the

       mother sent text messages to the child’s father in which she stated, “I shook him

       again cause he’s being [expletive omitted] annoying” and “I [expletive omitted] hate

       him . . . I’m about to throw him/ I will [expletive omitted] kill him.” Id. at *3. There,

       the trial court made further findings regarding the mother’s post-partum depression

       and messages that she hit the baby and “threw him off” her. Id. Although the mother

       “did not actually” harm the child, “she wanted the . . . father to think that she actually

       had shaken the baby.” Id. This Court vacated the adjudication order, stating, “[T]he

       [trial] court made no finding of any ‘physical, mental, or emotional impairment of the

       juvenile or a substantial risk of such impairment’ as required by our case law.” Id.
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       (citations omitted). In vacating the adjudication, this Court reasoned that, “in light

       of [the] [m]other’s testimony that her text messages to [the] [f]ather were not true

       and merely an attempt to get his attention, we cannot say ‘all the evidence supports

       . . . a finding’ that [the juvenile] was either harmed or at a substantial risk of harm

       in his mother’s care.” Id. at *4 (citation omitted). We find the reasoning in In re L.L.,

       and In re A.O.T., persuasive and adopt it herein.

¶ 26         In the present appeal, Respondent-Mother sent text messages to a close friend,

       messages which Ms. D testified she “didn’t take literally.”         Respondent-Mother

       testified she was “venting,” “blowing off steam,” and that the messages were

       hyperbole and exaggeration.      Respondent-Mother had a history of anxiety and

       depression, and stated she was “deeply-depressed and sleep-deprived” at the time the

       messages were sent. More than a week passed from the time Respondent-Mother

       sent the text messages until DSS arrived at the residence to evaluate Respondent-

       Mother for involuntary commitment.         Ms. N, the community behavioral health

       counselor who questioned Respondent-Mother about her mental health, did not

       believe Respondent-Mother should be involuntarily committed.             If Ms. N had

       determined that Respondent-Mother posed a danger to herself or others, she would

       have presumably recommended Respondent-Mother be involuntarily committed.

       Other evidence presented showed that Respondent-Mother was aware of her mental

       health needs and sought assistance and respite care for her child when she believed
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                                   Opinion of the Court



it to be necessary. The trial court made no factual findings regarding whether Riley

was harmed in his mother’s care or whether there was a substantial risk that he

would be harmed. Accordingly, we “cannot say ‘all the evidence supports a finding

that [Riley] was either harmed or at a substantial risk of harm in his mother’s care.”

See id.; see also In re L.L., 2012 WL 1514870, at *4; In re T.X.W., No. COA 17-855,

258 N.C. App. 204, 2018 WL 944766 (reversing an adjudication of neglect and

dependency where the mother was diagnosed with mental illness and believed her

friend was plotting to have DSS take the children away where “there was no evidence

that [the minor children] were actually harmed or faced a substantial risk of harm

while in [the mother’s] care.”). Based on the review of the cold record, we are not

persuaded that the evidence presented at the hearing rises to the level of such

evidence that would “fully convince” a fact finder that Riley suffered harm or a

substantial risk of harm in his mother’s care. However, we recognize that the trial

court is in a better position to determine the credibility of the witnesses and to resolve

the inconsistencies in the evidence. Because the trial court did not make the ultimate

findings of fact regarding the risk of harm Riley faced, we remand to the trial court

for the court to make any additional findings of fact which may support its conclusion

that Riley is a neglected juvenile or for the trial court to dismiss the petition in

absence of such findings.

B. Adjudication of Dependency
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                                          Opinion of the Court



¶ 27         Respondent-Mother further contends the trial court erred in adjudicating Riley

       dependent. We agree.

¶ 28         A “dependent juvenile” is one whose “parent, guardian, or custodian is unable

       to provide for the juvenile’s care or supervision and lacks an appropriate alternative

       child care arrangement.” N.C. Gen. Stat. § 7B-101(9). An adjudication of dependency

       requires the trial court to “address both (1) the parent’s ability to provide care or

       supervision, and (2) the availability to the parent of alternative child care

       arrangements.” In re P.M., 169 N.C. App. 423, 427, 610 S.E.2d 403, 406 (2005).

       “Findings of fact addressing both prongs must be made before a juvenile may be

       adjudicated as dependent, and the court’s failure to make these findings will result

       in reversal of the court.” In re L.C., 253 N.C. App. 67, 80, 800 S.E.2d 82, 91-92 (2017)

       (citation omitted); In re B.M., 183 N.C. App. 84, 90, 643 S.E.2d 644, 648 (2007).

¶ 29         Regarding dependency, the trial court made the following findings of fact:

                    12. After receiving evidence, the Court finds: facts as
                    alleged in the Juvenile Petition which was filed by [DSS]
                    and which appears in the juvenile’s court file. Said copy of
                    the Juvenile Petition is incorporated herein by reference
                    and its allegations are found as fact by the Court. These
                    facts are also set out in the attached page or pages (entitled
                    “Additional Findings of Fact”).

                    ...

                    13. . . . The juvenile, [Riley], is dependent, in that the
                    juvenile needs assistance or placement because the
                    juvenile has no parent, guardian, or custodian responsible
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                                            Opinion of the Court



                        for the juvenile’s care or supervision. [T]he juvenile’s
                        parent, guardian, or custodian is unable to provide for the
                        juvenile’s care or supervision and lacks an appropriate
                        alternative child care arrangement.

       In the trial court’s additional findings, the court found that “[t]he child is dependent

       in that he does not have a parent who is capable of providing safe care or supervision

       to the child.”

¶ 30          After careful review, we hold finding of fact 13 is more appropriately classified

       as a conclusion of law. See In re Helms, 127 N.C. App. at 510, 491 S.E.2d at 675 (“As

       a general rule, . . . any determination requiring the exercise of judgment . . . or the

       application of legal principles . . . is more properly classified a conclusion of law.”

       (citations omitted)). Accordingly, the only finding of fact regarding Riley’s alleged

       dependency is the trial court’s additional finding that Riley “does not have a parent

       who is capable of providing safe care or supervision.” This finding, however, does not

       address the second prong of a dependency determination. The trial court’s order is

       devoid of factual findings regarding an alternative child care arrangement. We note,

       however, that there is evidence in the record from multiple sources that Respondent-

       Mother sought respite care for the minor child as she believed necessary.

       Consequently, we reverse the adjudication of dependency for the trial court’s failure

       to consider the second prong.

                                         III.     Conclusion
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                                          Opinion of the Court



¶ 31         After careful review, we reverse the adjudication order finding the juvenile to

       be a neglected and dependent juvenile. We remand to the trial court for additional

       findings of fact to support the trial court’s finding of neglect or for the trial court to

       dismiss the petition in the absence of such findings.          Because we reverse the

       adjudication order, we need not address the dispositional order.

             REVERSED AND REMANDED.

             Judge ZACHARY concurs.

             Judge CARPENTER concurs in part and concurs in result only in part by

       separate opinion.
        No. COA21-285– In re R.B.


              CARPENTER, Judge, concurring in part and concurring in result only in part.


¶ 32          I fully concur with the majority’s conclusion with respect to the issue of

       adjudication of dependency. I respectfully concur in result only on the issue of neglect

       adjudication, and I write separately to differentiate my reasoning from that of the

       majority in reaching the decision to reverse and remand. Regarding the trial court’s

       adjudication of neglect, I agree with the majority’s holding that “[t]he trial court made

       no factual findings regarding whether Riley was harmed in his mother’s care or

       whether there was a substantial risk that he would be harmed.”           See In re K.J.B.,

       248 N.C. App. 352, 354, 797 S.E.2d 516, 518 (2016) (“[I]n order for a court to find that

       the child resided in an injurious environment, evidence must show that the

       environment in which the child resided has resulted in harm to the child or a

       substantial risk of harm.”) (citation omitted). I further agree the trial court failed to

       “f[ind] the ultimate facts necessary to dispose of the case” “through processes of logical

       reasoning.” See In re J.W., 241 N.C. App. 44, 48–49, 772 S.E.2d 249, 253, disc. rev.

       denied, 368 N.C. 290, 776 S.E.2d 202 (2015) (citation omitted). Instead, the trial court

       simply recited verbatim the allegations from DSS’s petition. See In re M.K., 241 N.C.

       App. 467, 470–71, 773 S.E.2d 535, 538–39 (2015). However, for the following reasons,

       I disagree with the analysis of the majority opinion with respect to whether there is

       sufficient evidence in the record for the trial court to find Riley resided in an injurious

       environment.
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                                             2021-NCCOA-654

                  CARPENTER, J., concurring in part and concurring in result only in part.



¶ 33         This Court reviews a trial court’s adjudicatory decision “to determine whether

       the findings are supported by clear, cogent and convincing evidence and the findings

       support the conclusions of law.” In re E.H.P., 372, N.C. 388, 392, 831 S.E.2d 49, 52
       (2019) (citation omitted). “A trial court’s finding of fact that is supported by clear,

       cogent, and convincing evidence is deemed conclusive even if the record contains

       evidence that would support a contrary finding.” In re B.O.A., 372 N.C. 372, 379, 831

       S.E.2d 305, 310 (2019) (citation omitted).

¶ 34         As an initial matter, I note the trial court was not required to making findings

       of fact regarding the credibility of witnesses or resolve inconsistences in the

       evidence—the trial court was required to “find the ultimate facts essential to support

       the conclusions of law.” See In re J.W., 241 N.C. App. at 48, 772 S.E.2d at 253.

¶ 35         The majority appears to decline to hold there is sufficient evidence in the record

       that would permit the trial judge to find the child suffered a substantial risk of harm

       in his mother’s care by weighing the evidence and assessing the credibility of the

       witnesses presented at trial.      It is not this Court’s role to weigh evidence and

       determine the credibility of witnesses. See In re Whisnant, 71 N.C. App. 439, 441,

       322 S.E.2d 434, 435 (1984) (“[I]t is [within the trial court] judge’s duty to weigh and

       consider all competent evidence, and pass upon the credibility of the witnesses, the

       weight to be given their testimony and the reasonable inferences to be drawn
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                  CARPENTER, J., concurring in part and concurring in result only in part.



       therefrom.”) (citing Knutton v. Cofield, 273 N.C. 355, 160 S.E.2d 29 (1968)). By doing

       so, it appears this Court is stepping into the shoes of the trial court judge.

¶ 36         Seemingly disregarded by the majority is record evidence and the plain

       language of text messages that were received in evidence in which Respondent-

       Mother admits to taking a step toward harming the child—which was consistent with

       her threats. In her text messages, Respondent-Mother stated, inter alia, she:

       “want[ed] to strangle the [expletive omitted] lights out of [her child],” was “going to

       have to abandon him,” was “going to hurt him,” was “going to kill him” and “literally

       had [her] hands around his throat.” (Emphasis added). The majority declines to

       conclude these text messages could be found by the trial judge to be clear and

       convincing evidence that Riley was at a substantial risk of harm based on the

       Respondent-Mother’s and Ms. D’s testimony. Rather, the majority appears to re-

       weigh evidence and determine witness credibility, as evidenced by the majority’s

       description of Respondent-Mother’s text messages as including “hyperbolic language”

       and its presumption that Respondent-Mother did not pose a substantial risk of harm

       to Riley because Respondent-Mother was not involuntarily committed following

       DSS’s evaluation.

¶ 37         I note the record also includes testimony of Ms. D on 12 October 2020 that she

       “absolutely” had reservations about returning Riley to the care of his mother after

       Respondent-Mother agreed to place Riley in a “safe home” through a foster care
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                  CARPENTER, J., concurring in part and concurring in result only in part.



       program. Ms. D was hesitant to return the child to Respondent-Mother “because

       [she] didn’t think that [Respondent-Mother] could [care for the child]” based on “all

       the stuff she said and texted [her] and telling [her] that [she] was trying to find [Riley

       a home].” The majority focuses its attention on testimony provided by Ms. D at the

       second adjudication hearing, held over three weeks later, on 5 November 2020. At

       the 5 November hearing, Ms. D testified she “didn’t take [Respondent-Mother’s text

       message in which she stated she was going to kill Riley] literally.” However, the

       majority notes on multiple instances Ms. D “didn’t take literally” Respondent-

       Mother’s text messages. This statement by the majority takes Ms. D’s testimony out

       of context since her response at the hearing only pertained to the text messages in

       which Respondent-Mother stated she was going to kill Riley—not to the text message

       string in general. Also, the majority’s emphasis on Ms. D’s testimony in which she

       testified she did not take Respondent-Mother’s text messages “literally,” conflicts

       with the other evidence of record, including Ms. D’s earlier testimony. The majority’s

       emphasis on certain evidence, while being dismissive of other evidence, necessarily

       demonstrates its undertaking of determining witness credibility and the weight to be

       given to the evidence—a role reserved for the trial judge and not this Court. See In

       re Whisnant, 71 N.C. App. at 441, 322 S.E.2d at 435.

¶ 38         Similarly, the majority appears to hold that the text messages could not be

       clear and convincing evidence of a substantial risk of harm toward Riley based in part
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                                              2021-NCCOA-654

                   CARPENTER, J., concurring in part and concurring in result only in part.



       on Respondent-Mother’s own testimony at the adjudication hearing in which she

       testified she was only “venting” in her “hyperbolic” text messages to Ms. D. This

       reasoning again involves determining witness credibility and evidence weight, which

       was solely within the province of the trial court. See In re Whisnant, 71 N.C. App. at

       441, 322 S.E.2d at 435.

¶ 39         Finally, the majority relies heavily on unpublished opinions of this Court in

       considering whether the trial court’s neglect adjudication was based on sufficient

       findings of fact or sufficient evidence. As this Court has previously noted, “a parent’s

       conduct in a neglect determination must be viewed on a case-by-case basis

       considering the totality of the evidence.” In re L.T.R., 181 N.C. App. 376, 384, 639

       S.E.2d 122, 128 (2007).       In the instant case, the evidence included, inter alia,

       testimony by Respondent-Mother in which she describes calling 911 “to make sure

       that there would be another adult [at her home],” testimony by witnesses including

       Ms. D, and multiple text messages sent by Respondent-Mother to Ms. D in which

       Respondent-Mother threatened to harm Riley. Accordingly, I would hold there was

       sufficient evidence in the record for the trial court to make a finding Respondent-

       Mother posed a “substantial risk of [physical] impairment” to Riley “as a consequence

       of [her] failure to provide proper care . . . .” See In re Safriet, 112 N.C. App. 747, 752,

       436 S.E.2d 898, 901–02 (1993). Since the trial court failed to make such a finding, I

       would conclude the trial court’s findings were insufficient under N.C. Gen. Stat. § 7B-
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                  CARPENTER, J., concurring in part and concurring in result only in part.



       101(15) (2019) to support a conclusion of law that Riley was a neglected juvenile.

       Therefore, I agree with the majority’s decision to reverse the trial court’s adjudication

       of neglect and remand to the trial court to make additional findings of fact regarding

       “the existence or nonexistence of any of the conditions alleged in [DSS’s] petition.”

       See In re V.B., 239 N.C. App. 340, 344, 768 S.E.2d 867, 869–70 (2015); In re H.J.A.,

       223 N.C. App. 413, 419, 735 S.E.2d 359, 363 (2012) (stating our Court “must reverse

       the trial court’s order” where there is sufficient evidence in the record to support a

       finding, yet the trial court failed to make such a finding).

¶ 40         For the reasons stated above, I fully concur with the majority opinion on the

       issue of the dependency adjudication. I disagree with the majority’s reasoning with

       respect to the issue of the neglect adjudication, and therefore, I respectfully concur in

       result only with the majority’s opinion on this issue.
